Filed 8/27/24 P. v. Ayala CA2/2
    NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
not certified for publication or ordered published, except as specified by rule 8.1115(b). This opinion
has not been certified for publication or ordered published for purposes of rule 8.1115.


IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION TWO


THE PEOPLE,                                                   B331782

         Plaintiff and Respondent,                            (Los Angeles County
                                                              Super. Ct. No.
         v.                                                   NA073260)

JORGE ALFONSO AYALA,

         Defendant and Appellant.


      THE COURT:
      Defendant and appellant Jorge Alfonso Ayala filed this
appeal after the trial court summarily denied his petition for
resentencing under Penal Code section 1172.6 (former § 1170.95)1


1     All further statutory references are to the Penal Code
unless otherwise indicated.
      Effective June 30, 2022, former section 1170.95 was
renumbered section 1172.6, with no substantive change. (Stats.
2022, ch. 58, § 10.) For simplicity, we refer to the section by its
new numbering.
and petition for writ of habeas corpus. Defendant’s appointed
appellate counsel found no arguable issues and filed a brief
pursuant to People v. Delgadillo (2022) 14 Cal.5th 216(Delgadillo). Finding that the arguments raised by defendant in
his supplemental brief lack merit, we affirm the denial of his
section 1172.6 petition. We dismiss his appeal from the denial of
the writ of habeas corpus.
                          BACKGROUND
I. Facts 2

       On January 24, 2007, Susan Swancutt (Swancutt) was on
her way to purchase drugs from Jose Macias (Macias) when she
came across defendant and Oscar Camilo Escobar (Escobar).
(People v. Ayala (Dec. 22, 2010, B216952) [nonpub. opn.] (Ayala).)
Swancutt gave defendant and Escobar a ride, dropping them off
near where she was to meet Macias. (Ibid.) She parked, walked
to the truck where Macias was waiting, and entered the vehicle.
(Ibid.)
       Defendant and Escobar “approached the [vehicle] from both
sides, each holding a gun. One pointed a gun at the driver and
the other at [Swancutt], ordering her into the backseat. Escobar
got into the front passenger seat and [defendant] into the back,
behind Macias, who was ordered to drive. Macias told the men,
‘Take whatever you want[.] [T]ake the car. Just leave me.’
Swancutt saw [defendant and Escobar] take a wallet and
necklace from Macias.” (Ayala, supra, B216952, fn. omitted.)
Defendant and Escobar later let Swancutt out of the truck.
(Ibid.)

2     We provide these facts, drawn from this court’s
nonpublished opinion in defendant’s direct appeal from his
conviction, for context only.




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       Later that evening, Macias’s body was discovered in a
white truck at a secluded pumping station. (Ayala, supra,
B216952) He “had been shot 20 times from a distance of one foot
or less and died from his wounds.” (Ibid.)
II. Procedural History
       A. Trial and sentencing
       In 2009, a jury found defendant guilty of the first degree
murder of Macias (§ 187, subd. (a); count 1), kidnapping to
commit another crime (robbery) (§ 209, subd. (b)(1); count 2),
kidnapping for carjacking (§ 209.5, subd. (a); count 3), kidnapping
(§ 207, subd. (a); count 4), and second degree robbery (§ 211;
count 5). As to count 1, the jury found true the special
circumstance allegations that the murder was committed
(1) while engaged in a robbery (§ 190.2, subd. (a)(17)(A)),
(2) while engaged in a kidnapping (§ 190.2, subd. (a)(17)(B)), and
(3) while engaged in a carjacking (§ 190.2, subd. (a)(17)(L)). As to
counts 2 through 5, the jury found true allegations that
defendant personally inflicted great bodily injury. (§ 12022.7,
subd. (a).) As to all counts, the jury found true allegations that a
principal was armed with a handgun. (§ 12022, subd. (a)(1).)3
Defendant admitted the allegation that, at the time of the
charged offenses, he was out of custody on bail within the
meaning of section 12022.1. (Ayala, supra, B216952.)
       The trial court sentenced defendant to an aggregate prison
term of life without the possibility of parole, plus two consecutive



3     Escobar was tried with defendant; the jury convicted
Escobar of the same crimes and found true the same special
circumstances and enhancements. (See Ayala, supra, B216952.)
Escobar is not a party to this appeal.




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life sentences, plus six years eight months. (Ayala, supra,
B216952.)
       B. Direct appeal
       On direct appeal, we dismissed defendant’s conviction in
count 4, stayed the sentence on count 3, ordered the recalculation
of court security and conviction fees, dismissed assessments
under section 1464, and directed the trial court to correct the
abstracts of judgment. (Ayala, supra, B216952.) We otherwise
affirmed the judgment. (Ibid.)4
       C. Section 1172.6 petition; petition for writ of habeas
corpus
       On April 3, 2023, defendant filed a petition for resentencing
under section 1172.6. Defendant attached a declaration dated
November 18, 2012, from Escobar stating that Escobar had
“murdered Jose Macias and no one else assisted . . . .” Also on
April 3, 2023, defendant filed a petition for writ of habeas corpus,
seeking a hearing pursuant to People v. Franklin (2016)
63 Cal.4th 261 (Franklin).5

4     Defendant’s appellate counsel filed a request asking us to
take judicial notice of our file in defendant’s direct appeal
(B216952), including the record and our unpublished opinion.
We hereby grant the request for judicial notice. (Evid. Code,
§§ 452, subd. (d), 459.)
5      At a Franklin hearing, a juvenile offender has “the
opportunity to ‘place on the record any documents, evaluations,
or testimony (subject to cross-examination) that may be relevant
at his eventual youth offender parole hearing, and the
prosecution likewise may put on the record any evidence that
demonstrates the juvenile offender’s culpability or cognitive
maturity, or otherwise bears on the influence of youth-related
factors.’ [Citation.]” (In re Cook (2019) 7 Cal.5th 439, 458–459.)




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       On May 10, 2023, the trial court summarily denied
defendant’s section 1172.6 petition. The court concluded that
defendant was not entitled to relief as a matter of law for two
reasons. First, “the court file reflect[ed] that . . . [defendant] was
one of the two actual killers and was not convicted under a theory
of felony-murder of any degree, or a theory of natural and
probable consequences.” Second, the appellate opinion on direct
appeal “reflect[ed] that . . . [defendant] was the actual killer and
was convicted of murder on a theory of being the direct
perpetrator with his cohort, Oscar Escobar, and not on a theory of
felony murder of any degree, or a theory of natural and probable
consequences. Both [defendant and Escobar] approached the
victim with a handgun and shot the victim.”
       On May 10, 2023, the trial court also summarily denied the
petition for writ of habeas corpus. Among other reasons, the
court explained that because defendant had been sentenced to life
without the possibility of parole, “[a]ny request for making a
record for parole release is non-justiciable and not ripe for
consideration.”
       D. Appeal
       Defendant filed a notice of appeal on June 22, 2023. He
identified the date of the order or judgment appealed from as
May 11, 2023. We construe the notice as appealing the May 10,
2023, orders summarily denying defendant’s section 1172.6
petition and petition for writ of habeas corpus.
       Counsel was appointed to represent defendant in
connection with this appeal. After reviewing the record,
appointed counsel filed a brief raising no issues and asking this
court to follow the procedures set forth in Delgadillo, supra,




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14 Cal.5th 216. Appellate counsel also requested that we exercise
our discretion to independently review the record.
       On May 8, 2024, we notified defendant that he had 30 days
within which to personally submit a supplemental brief or letter
stating any grounds for an appeal, contentions, or arguments for
us to consider. We also informed defendant that his appeal could
be dismissed if a supplemental brief or letter was not timely filed.
Defendant filed a supplemental brief on May 22, 2024.
                          DISCUSSION
I. Section 1172.6 Petition for Resentencing
       We decline appellate counsel’s invitation to undertake an
independent review of the record. Instead, we limit our review of
the order denying defendant’s section 1172.6 petition to those
arguments raised by defendant in his supplemental brief.
(Delgadillo, supra, 14 Cal.5th at p. 232 [“If the defendant . . . files
a supplemental brief or letter, the Court of Appeal is required to
evaluate the specific arguments presented in that brief and to
issue a written opinion”].)
       Defendant points to Escobar’s November 18, 2012,
declaration as newly discovered evidence of his innocence. He
argues that insufficient evidence supports a finding that he was
the killer. He denies that he acted with malice or assisted or
encouraged Escobar to kill.6 Defendant also raises several claims


6      Accompanying his supplemental brief, defendant submitted
a declaration in which he recounts his version of the events of
January 24, 2007—the night of the murder. As this declaration
is not part of the appellate record, we decline to consider it. (See
Hodge v. Kirkpatrick Development, Inc. (2005) 130 Cal.App.4th
540, 546, fn. 1 [declining to consider document attached to brief
that was not part of the appellate record].)




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regarding his original trial, including ineffective assistance of
counsel and judicial bias.
       These arguments are improper in an appeal from the denial
of a section 1172.6 petition. The sole purpose of that petition is to
allow persons convicted of murder or other eligible crimes to
obtain retroactive relief if they could not now be convicted under
recently amended murder statutes. (§ 1172.6, subd. (a); see
People v. Lewis (2021) 11 Cal.5th 952, 957; People v. Duran
(2022) 84 Cal.App.5th 920, 927.) Section 1172.6 “does not afford
the petitioner a new opportunity to raise claims of trial error or
attack the sufficiency of the evidence supporting the jury’s
findings.” (People v. Farfan (2021) 71 Cal.App.5th 942, 947; see
also People v. Burns (2023) 95 Cal.App.5th 862, 865
[“Section 1172.6 does not create a right to a second appeal”].)
Defendant does not present any cogent argument directed at
whether the summary denial of his section 1172.6 petition was
erroneous.
II. Petition for Writ of Habeas Corpus
       “[I]n noncapital cases, if the superior court denies a petition
for a writ of habeas corpus, the petitioner has no statutory right
to appeal. Instead, the petitioner must file a new, original
petition, generally in the Court of Appeal.” (Robinson v. Lewis
(2020) 9 Cal.5th 883, 895.) Because the order denying
defendant’s petition for writ of habeas corpus is nonappealable,
we dismiss his appeal from it. (People v. Fuimaono (2019)
32 Cal.App.5th 132, 133–134; People v. Mendez (2012)
209 Cal.App.4th 32, 34.)
       Some courts have treated an appeal from the denial of a
petition for writ of habeas corpus as the filing of a new petition in
the Court of Appeal. (People v. Gallardo (2000) 77 Cal.App.4th




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971, 986; People v. Garrett (1998) 67 Cal.App.4th 1419, 1423.)
We have no cause to do so here because, on June 22, 2023,
defendant filed a petition for writ of habeas corpus in this court
asking, among other things, for a Franklin hearing. We
summarily denied defendant’s petition. (In re Ayala (July 13,
2023, B329778) [nonpub. order].)
                          DISPOSITION
       The trial court’s May 10, 2023, order denying defendant’s
section 1172.6 petition for resentencing is affirmed. Defendant’s
appeal from the court’s May 10, 2023, order denying defendant’s
petition for writ of habeas corpus is dismissed.
       NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS.




LUI, P. J.        ASHMANN-GERST, J.              HOFFSTADT, J.




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